
USCA1 Opinion

	










                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
                                 ____________________

        No. 94-1210

                                  SHARON L. PARKER,

                                 Plaintiff, Appellee,

                                          v.

                        CITY OF NASHUA, NEW HAMPSHIRE, ET AL.,

                                Defendants, Appellees.
                                      __________

                       F. SHEEHAN, IN HIS OFFICIAL CAPACITY AS
                               A NASHUA POLICE OFFICER,

                                Defendant, Appellant.
                                 ____________________

        No. 94-1272

                                  SHARON L. PARKER,

                                Plaintiff, Appellant,

                                          v.

                        CITY OF NASHUA, NEW HAMPSHIRE, ET AL.,

                                Defendants, Appellees.
                                 ____________________

                    APPEALS FROM THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF NEW HAMPSHIRE

                   [Hon. Shane Devine, Senior U.S. District Judge]
                                       __________________________

                                 ____________________

                                        Before

                                Selya, Circuit Judge,
                                       _____________

                            Bownes, Senior Circuit Judge,
                                    ____________________

                             and Boudin, Circuit Judge. 
                                         _____________

                                 ____________________


















            Thomas  Quarles,  Jr. and  Dyana  J.  Crahan with  whom  Robert E.
            _____________________      _________________             _________
        McDaniel  and Devine,  Millimet  &amp; Branch,  P.A.  were on  briefs  for
        ________      __________________________________
        defendants.  
            Francis  G. Murphy,  Jr. with  whom  Joseph  F. Keefe,  Kathryn B.
            ________________________             ________________   __________
        Johnston,  and Hall, Hess, Kenison, Stewart, Murphy &amp; Keefe, P.A. were
        ________       __________________________________________________
        on briefs for plaintiff. 
                                 ____________________

                                   February 5, 1996
                                 ____________________
























































                 BOUDIN, Circuit  Judge.   In the district  court, Sharon
                         ______________

            Parker  was awarded substantial damages by a jury which found

            that a police officer  had violated her rights in  the course

            of  an arrest.    On  this  appeal,  almost  the  only  issue

            presented, and  certainly the only one warranting discussion,

            is  a claim that the  district court erred  in describing for

            the jury  the state  disorderly conduct  statute used by  the

            police officer to justify Parker's arrest.  Because the issue

            is narrowly framed, our description of the factual background

            is brief.

                 Late  in  the  evening  of  February  10,  1990,  Parker

            returned by car to her parents' house in downtown Nashua, New

            Hampshire, from  a dance at the local Moose Club.  There were

            six  passengers in the car:  Parker and her husband, Parker's

            parents,  her  sister,  and  her  sister's  companion.    The

            companion owned and drove the vehicle.  Parker has a disorder

            affecting the left side of her body;  and for this reason she

            does not drink alcohol.

                 When the car reached  the house, Parker and  her husband

            entered  their own car,  which had been left  in front of the

            house prior  to the dance.   At that  point a police  cruiser

            driven by officer  James Lima pulled  up behind the  Parkers'

            car and flashed its  light.  The officer previously  had been

            parked by the side of the road when Parker and her companions

            drove  by, en route from the dance  to the home of the Parker



                                         -3-
                                         -3-















            parents.  The  officer later testified  that he thought  that

            the car's  driver had  committed traffic violations.   It  is

            unclear whether the  officer confused the two  cars, but when

            Parker got out of her own vehicle in response to the flashing

            lights, the officer asked for her license and registration.

                 At  this  point, the  police  version  of what  occurred

            begins  to  diverge sharply  from  that  of  Parker  and  her

            companions.  According to Lima, he was  assaulted by Parker's

            husband, Parker's  sister, and the sister's  companion.  Lima

            pressed a button  calling for  emergency backup.   Two  other

            officers  arrived.    The  struggle  continued  and  Parker's

            husband was  buffeted.  Ultimately, the  husband, sister, and

            sister's  companion were  arrested.   By this  time, Parker's

            parents and others had come out to the scene.

                 Additional  police  arrived,  including   Officer  Frank

            Sheehan, who  eventually  arrested Parker  herself.   Officer

            Sheehan's later testimony was that he saw  Parker standing in

            the road  yelling at  the other officers,  using obscenities.

            He  told her to quiet down and  leave the road.  According to

            Sheehan,  eventually   Parker  moved  to  the   sidewalk  but

            continued  to yell.  At  that point Sheehan  said he arrested

            Parker for disorderly conduct.

                 Parker's description  of events is quite  different.  In

            her own later  testimony, she  denied being in  the road  and

            claimed  to have said to Officer Sheehan only that she wanted



                                         -4-
                                         -4-















            to go  to the police  station with her husband  who was being

            arrested.   Sheehan, she  says, responded with  an obscenity,

            declaring  that  the  police car  was  not  a  taxi.   Parker

            testified that  she simply turned away and  walked toward the

            house,  saying  to  her  mother   that  this  was  "the  most

            unbelievable thing I've ever seen."

                 In  all  events,  Parker  was  handcuffed,  offering  no

            resistance.   She  later offered  medical testimony  that her

            shoulder and upper arm, already susceptible to injury because

            of   her  medical   condition,   were  wrenched   during  the

            handcuffing.   Then, en route to the police cruiser, she says

            that she  was pulled or  tugged by the handcuffs  so that she

            fell on the ground and was then dragged by the  police over a

            snow bank.  The police version is that this was an accidental

            fall.

                 Parker was  arrested  for and  charged  with  disorderly

            conduct.    The  charges   were  eventually  dropped  by  the

            authorities.  In due  course, she brought the present  action

            in  district  court against  the City  of Nashua,  the Nashua

            Police Department  and  various officers  including  Sheehan.

            Her federal  claim under 42  U.S.C.   1983  was based on  her

            rights under the Fourth and Fourteenth Amendments to be  free

            from  unreasonable  seizure.   She  also  asserted state  law

            claims  based on her allegedly unlawful arrest.  The case was

            tried before a jury in January and February 1994.



                                         -5-
                                         -5-















                 At  the  trial,  Parker  and the  police  offered  their

            respective  versions  of  what   had  happened.    There  was

            testimony  from  Parker,  Sheehan   and  a  number  of  other

            witnesses  on both sides who  had been present  at the scene.

            Parker, who was a government social worker, proffered medical

            and economic evidence to support a very substantial  award of

            damages.   The  jury  returned a  large  verdict  for  Parker

            against  Sheehan (although  smaller than  requested), finding

            specially that  Parker's rights under both  federal and state

            law had been infringed.

                 On this  appeal, defendants'  central claim is  that the

            district court erred  in failing to charge  the jury properly

            as to the offense for which Parker was arrested.  The premise

            of  Parker's claim was that she had been arrested even though

            the  police lacked  probable  cause to  believe that  she had

            committed  or was  committing an  offense.   See  Michigan v.
                                                         ___  ________

            DeFillippo,  443 U.S. 31, 36  (1979).  To  decide whether the
            __________

            police  had probable cause, the  jury had to  match what they

            found  to  be  the  facts--more  accurately,  the  reasonable

            perception of police as  to those facts--against the elements

            of the offense.

                 The New Hampshire disorderly conduct  statute, N.H. Rev.

            Stat.  Ann.     644:2,  comprises  the   misdemeanor  offense

            labelled disorderly conduct; but the statute, reprinted in an

            appendix to  this opinion,  describes nine different  ways of



                                         -6-
                                         -6-















            committing  the  offense and  covers over  a page  of single-

            spaced  text.   Several  of  the  offenses  described in  the

            statute  were arguably  pertinent  to the  police version  of

            events;  others--e.g.,  interference   with  a   firefighting
                             ____

            operation or obstructing the  entrance to a public building--

            had nothing whatever to do with the arrest.

                 A reading of Sheehan's trial testimony strongly suggests

            that the disorderly conduct offense that he  deemed Parker to

            have committed  fell under  section III(a) of  the disorderly

            conduct statute.   That provision is  directed at anyone  who

            purposely causes a  breach of the peace, annoyance  or alarm,

            or reckless  risk of  these consequences,  by making  loud or

            unreasonable  noises   in  a  public  location.     Sheehan's

            testimony at  trial emphasized the  loud noises that  he said

            Parker was making and the risk that the gathering crowd would

            be incited.

                 It  is difficult to be sure just how the parties treated

            the matter when presenting  their case, because parts of  the

            transcript  (e.g., the  closing  statements)  have  not  been
                         ____

            provided by defendants.  But it is clear that when it came to

            charging  the jury,  the defense  in its  requests to  charge

            asked  the judge to read almost all of the disorderly conduct

            statute to the jury.  The trial judge confined  his charge to

            the  loud noise  offense  described in  section III(a).   The





                                         -7-
                                         -7-















            court's refusal to  charge more  broadly is  now assigned  as

            error.

                 We will assume for purposes  of this appeal that Sheehan

            was entitled at trial  to justify his arrest of  Parker under

            any  provision of  the  disorderly conduct  statute that  the

            evidence  at trial might show to have applied to her conduct.

            There was some  evidence from the police witnesses to suggest

            that  Parker used obscenities  and refused  to comply  with a

            lawful police  order; it is  more doubtful that  the evidence

            showed any obstruction of  traffic.  Thus a request  that the

            jury  be instructed  as  to  at  least  two  of  these  other

            disorderly conduct offenses was arguably proper.1

                 An  initial  difficulty  is  that  Fed.  R.  Civ.  P. 51

            provides  that "[n]o  party may  assign as  error .  . .  the

            failure  to give  an  instruction unless  that party  objects

            thereto  before the  jury  retires to  consider its  verdict,

            stating distinctly the matter objected to and  the grounds of

            the  objection."  Further, to satisfy Rule 51 "the judge must

            be told precisely  what the problem  is, and as  importantly,
                    _________

            what  the attorney would consider a satisfactory cure."  Linn
                                                                     ____

            v. Andover  Newton Theological  School, Inc.,  874 F.2d  1, 5
               _________________________________________

            (1st  Cir. 1989).    And the  lawyer  must propose  a  lawful

                                
            ____________________

                 1We say "arguably" because the problem  of justifying an
            arrest on grounds not invoked at  the time becomes especially
            complicated  where some of the facts were known only to other
            officers.   See generally 2  W. LaFave, Search  and Seizure  
                        _____________               ___________________
            3.5(c) (2d ed. 1987); id.    5.1(e).
                                  ___

                                         -8-
                                         -8-















            instruction  or  correction, and  not one  that substantially

            overstates  the  law  in  that  party's  favor.    Scarfo  v.
                                                               ______

            Cabletron Systems, Inc., 54 F.3d 931, 944 (1st Cir. 1995).
            _______________________

                 In  this instance,  after the district  court instructed

            the jury, defense counsel promptly objected to the failure to

            read  the "entire  disorderly conduct  statute" to  the jury.

            When  the court said that  Parker had been  charged only with

            violating  section  III(a)  and  "[n]obody   claims  she  was

            violating the rest of it," defense counsel responded:

                      We adduced testimony in evidence that she
                      violated  that  section  where   she  was
                      declining  to  comply  with a  reasonable
                      order of a police officer,  which I think
                      is  toward  the  end of  the  substantive
                      sections of it.

            The  trial judge  said  that  he  did  not  think  that  "it"

            (presumably referring  to the evidence) would  support such a

            charge, noted defense counsel's objection, and moved on.

                 The defense gave the district court no justification for

            reading  the  entire statute  to the  jury  and so  failed to

            tender a legally correct instruction.  This requirement is no

            formality:  the trial court, especially in hearing objections

            after the instructions have been given, is making on-the-spot

            choices;  and when the  instruction offered by  the lawyer is

            manifestly overbroad, the district  judge may reject  without

            assuming the burden  of editing  it down to  save some  small

            portion  that may  be viable.    Chase v.  Consolidated Foods
                                             _____     __________________

            Corp., 744 F.2d 566, 570 (7th Cir. 1984).
            _____


                                         -9-
                                         -9-















                 Certainly  in this  case  the defense  request that  the

            court read to the  jury almost all of the  disorderly conduct

            statute was properly denied.  A number of the offenses listed

            had no possible relevance to the case.  On appeal, defendants

            make  no attempt  to show  otherwise.   To allow the  jury to

            wander aimlessly among the various paragraphs would have been

            an invitation to confusion  and would be no more  proper than

            reading  to  the jury  in a  criminal  case a  description of

            offenses with which the defendant was not charged.

                 The  story of  the  requested instruction  is not  over.

            During jury  deliberations, the  jury  submitted a  question,

            "Can we got a copy of the disorderly conduct  law; i.e., what

            constitutes this violation."   At this point, defense counsel

            again  stated  that  the   entire  statute  should  be  read,

            asserting  that  the  question  for  the  jury  was  "whether

            probable cause  existed  for  the officer  on  the  scene  to

            believe  that   the  plaintiff  committed   the  offense   of

            disorderly  conduct."   The court  refused to read  the whole

            statute, and  instead reread its original  instruction to the

            jury.  Defense counsel then objected:

                      Your Honor, we simply object to the Court
                      not describing all  the circumstances  in
                      the  statute  where a  person  can commit
                      disorderly  conduct  or  when an  officer
                      could reasonably  believe that disorderly
                      conduct  was  committed,  especially  the
                      sections of  the statute which  relate to
                      engaging   in   tumultuous  behavior   or
                      knowingly  refusing  to  comply with  the
                      lawful order of  a peace officer to  move


                                         -10-
                                         -10-















                      from any public place, which by itself is
                      enough, or directing obscene  language or
                      obstructing   vehicular   or   pedestrian
                      traffic on the street, all of which there
                      is testimony on.

                 This court  has not  decided whether an  initial request

            for   an  instruction,   not  properly   presented,   can  be

            resurrected  by  a  proper  request  made  when  the jury  is

            reinstructed.   Surely when a new instruction is given to the
                                          ___

            jury during  its deliberations,  a new opportunity  exists to

            object or propose changes; but few cases address what happens

            when the jury is simply given  the original instruction again

            and  the  lawyer   now  makes  an  objection,  or   seeks  an

            alternative, that was not  properly presented before.  Wright

            &amp; Miller treat the reread instruction as reopening the matter

            entirely, but the case law is sparse, and we are less certain

            that any  blanket rule governs.  See  generally 9 A. Wright &amp;
                                             ___  _________

            C.  Miller, Federal  Practice and  Procedure    2553,  at 516
                        ________________________________

            (1995).

                 In all events, the new request made here at the time  of

            rereading repeated  the original unjustified request that the
                      ________

            entire  disorderly conduct statute be read to the jury.  This

            time defense counsel enlarged the number of specific offenses

            for  which  he  claimed  to  find  support  in  the evidence,

            referring to  tumultuous behavior, refusing to  obey a lawful

            order, making  obscene remarks and  obstructing traffic--"all

            of which [he  said] there is testimony on."   But once again,



                                         -11-
                                         -11-















            the  request that the entire  statute be read  is far broader

            than anything to which counsel was entitled.

                 It  is  possible,  with  great  generosity,  to construe

            defense counsel's  oral objections--both  at the time  of the

            original instruction  and at its rereading--as an alternative

            request to charge the jury only as to the specific disorderly

            conduct provisions  for which  the defense claimed  there was

            evidence  (e.g., refusal to  obey a lawful  order).  Standing
                       ____

            alone,  this would  not  be enough  because  it is  counsel's

            obligation to  communicate clearly with the  judge in seeking

            instructions, Scarfo,  54 F.3d at 947,  and counsel's request
                          ______

            was  far from  clear.   On  the  other hand,  there was  some

            indication that  the trial  judge did consider  whether other

            portions of the disorderly conduct statute should be read and

            thus was not entirely misled by the garbled objection.

                 Even if  we  treated  the request  for  a  more  limited

            instruction as  properly preserved  (and this is  a stretch),

            the failure to give the more limited instruction was patently

            harmless  in  this  case.     Vera-Lozano  v.   International
                                          ___________       _____________

            Broadcasters, 50 F.3d 67, 71 (1st Cir. 1995).   Our reason is
            ____________

            not lack of evidence.   Although we can understand  the trial

            judge's doubts on  this point, Sheehan  can make a  colorable

            claim that  even his  own testimony supported  the conclusion

            that Parker yelled obscenities,  refused to move promptly out

            of the street, or both.  When one adds fragments of consonant



                                         -12-
                                         -12-















            testimony  from  other  officers,  there  are  at  least  two

            provisions of  the  disorderly conduct  statute  under  which

            Parker could have been charged, apart from excessive noise.

                 What persuades us that the error (if any) is harmless is

            this:   Parker on  the one hand  and the police  on the other

            gave coherent but directly conflicting versions of the events

            relating to Parker.   Those  versions were each  of a  piece:

            Sheehan,  with some  support from  other officers,  said that

            Parker  had been  standing in  the street yelling  at police,

            used  swear words, and did not promptly obey an order to move

            onto the sidewalk  and shut up.  Parker's  version, supported

            by  other witnesses, is that she had been standing behind one

            of  the parked cars, had  caused no disturbance  and had done

            nothing  more than  make a  properly phrased  request to  the

            officer to accompany her husband.

                 The jury  heard all  this testimony from  the witnesses,

            and  obviously accepted Parker's version of events.  It is to

            us  inconceivable  that  the  jury would  have  decided  this

            conflict of fact in favor of the defense if only  it had been
                        ____

            told that several other  provisions of the disorderly conduct

            might also  have been violated  if the police  testimony were

            accepted.    The  main  thrust  of  Sheehan's  testimony  was

            Parker's standing in the  street yelling, despite his efforts

            to  get  her  to stop;  the  other  violations  were at  best

            ancillary.   There is no plausible way that this jury, having



                                         -13-
                                         -13-















            rejected the essence of the police  testimony, would or could

            nevertheless  have  found  in  Sheehan's  favor  based  on  a

            slightly fuller account of what the statute provided.

                 Our conclusion is not  based on any judgment of  our own

            as  to what the evidence  proved to have  happened.  Although

            Parker's brief portrays the police engaged in something close

            to a police  riot, there  is some indication  that others  in

            Parker's party may have been at least partly at fault for the

            disturbance.   But  the  evidence was  certainly adequate  to

            support  the jury verdict in favor of Parker on her own claim

            of wrongful arrest, and  the verdict was not affected  by the

            omission  of   a  more  complete  instruction  on  disorderly

            conduct.

                 The defense brief also  contends that the district court

            erred in failing to  give an instruction, in relation  to the

            state-law  claims  made  by  Parker,  that  the  police  were

            privileged to use reasonable  force to prevent perceived harm

            to  officers   or  the   public.    Although   the  privilege

            instruction was requested by the defense, no proper objection

            to  its omission was made  after the district  court gave its

            charge  and  omitted  the   requested  paragraph.    In  this

            instance, the  failure to object properly  is beyond dispute.

            The  omitted instruction  did not  lead to  a miscarriage  of

            justice, so  there is  no basis  for a claim  of plain  error

            under United States v. Olano, 507 U.S. 725 (1993).
                  _____________    _____



                                         -14-
                                         -14-















                 Defendants have urged, contingently, that  the new trial

            they  request should  be limited  to  liability.   Parker has

            filed a contingent cross appeal urging that in any new trial,

            she should be allowed to introduce additional evidence in her

            favor--e.g., that the police sought  to obtain a release from
                   ____

            her--which  the district court did not permit her to offer in

            the  original trial.  Because we affirm the judgment in favor

            of Parker, these contingent requests need not be reached.

                 Affirmed.
                 ________






































                                         -15-
                                         -15-












                                       APPENDIX



                 RSA 644:2 Disorderly Conduct.  A person is guilty of 
                 RSA 644:2 Disorderly Conduct.
            disorderly conduct if:
                 I.  He knowingly or purposely creates a condition  which
            is hazardous to himself  or another in a public  place by any
            action which serves no legitimate purpose; or
                 II.   He:
                 (a)  Engages in fighting or in violent, tumultuous or
            threatening behavior in a public place; or
                 (b) Directs at another person in a public place obscene,
            derisive, or  offensive words which  are likely to  provoke a
            violent reaction on the part of an ordinary person; or
                 (c)  Obstructs vehicular  or pedestrian  traffic  on any
            public  street or  sidewalk  or the  entrance  to any  public
            building; or
                 (d)  Engages   in  conduct  in  a   public  place  which
            substantially  interferes with  a  criminal investigation,  a
            firefighting operation to which RSA 154:17 is applicable, the
            provision of emergency medical treatment, or the provision of
            other   emergency  services   when   traffic  or   pedestrian
            management is required; or
                 (e) Knowingly refused to comply with a lawful order of a
            peace officer to move from any public place; or
                 III.  He purposely causes a breach of the peace, public 
            inconvenience,  annoyance or  alarm, or recklessly  creates a
            risk thereof, by:
                 (a)  Making  loud or  unreasonable  noises  in a  public
            place, or  making loud  or unreasonable  noises in a  private
            place which can  be heard in a public place  or other private
            places,  which  noises  would  disturb a  person  of  average
            sensibilities; or
                 (b) Disrupting  the orderly  conduct of business  in any
            public or governmental facility; or
                 (c) Disrupting any lawful assembly or meeting of persons
            without lawful authority.
                 IV.  In this section:
                 (a) "Lawful order: means:
                    (1)    A command issued to any person for the purpose
                           of preventing said person from  committing any
                           offense set  forth in this section,  or in any
                           section of  Title LXII or Title  XXI, when the
                           officer has reasonable grounds to believe that
                           said  person  is  about  to  commit  any  such
                           offense, or  when said person is  engaged in a
                           course  of conduct which  makes his commission
                           of such an offense imminent; or
                    (2)    A  command issued  to any  person to  stop him
                           from  continuing  to  commit  any  offense set
                           forth in  this section,  or in any  section of
                           Title LXII or Title  XXI, when the officer has
                           reasonable grounds to believe that said person














                           is   presently   engaged   in  conduct   which
                           constitutes any such offense.
                 (b)  "Public place" means any  place to which the public
                      or  a  substantial  group  has access.    The  term
                      includes,  but  is  not  limited  to,  public ways,
                      sidewalks,  schools, hospitals,  government offices
                      or facilities,  and  the  lobbies  or  hallways  of
                      apartment buildings, dormitories, hotels or motels.
                 V.   Disorderly conduct is a misdemeanor if the offense
            continues after a request by any person to desist; otherwise,
            it is a violation.  












































                                         -17-
                                         -17-






